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                         THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 DISPLAY TECHNOLOGIES, LLC,

                                                   Civil Action No. 2:17-cv-00192-JRG-RSP
                        Plaintiff,
                                                        CONSOLIDATED LEAD CASE
                v.
                                                          JURY TRIAL DEMANDED
 CANON U.S.A., INC., et al.,

                        Defendants.


                   DISPLAY TECHNOLOGIES, LLC’S RESPONSE TO
                DEFENDANT CANON U.S.A., INC.’S MOTION TO DISMISS

        Plaintiff Display Technologies, LLC (“Display”) respectfully responds to Defendant

 Canon U.S.A., Inc.’s (“Canon”) Motion to Dismiss and would show the Court as follows:

        Plaintiff Display responds to Canon’s motion to dismiss and would show this court as

 follows:

        Canon filed a motion to dismiss, Dkt. No. 18. The parties conferred following the filing

 of that motion and agreed that Display is entitled to venue-related discovery in order to properly

 respond to the motion. Specifically, Display is seeking information regarding Canon USA’s

 business activities in this judicial district. Accordingly, Display filed a motion, Dkt. No. 25, to

 extend the time to respond to the motion to dismiss until September 6, 2017 to allow for the

 necessary discovery.

        The motion to extend the response date has not been ruled upon as of the filing of this

 paper and Display would request that the Court stay consideration of the motion to dismiss and

 this response until such time as the discovery sought has been obtained and this paper has been
 	  
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 supplemented based on that new information.

             To show the good faith basis of Display’s efforts in obtaining venue-related discovery,

 Display directs the court to a web page with contract information from The Texas Department of

 Information Resources listing Canon USA as a contract vendor and further listing “Reseller

 Vendor Contacts” that include contacts with entities in this judicial district in Beaumont, Plano,

 Texarkana and Tyler:

 http://dir.texas.gov/View-Search/Contracts-Detail.aspx?contractnumber=DIR-TSO-3101

             Attached as Exhibit A is a printout of a document entitled “E&I Canon USA Authorized

 Dealer List” that lists Canon USA dealers in this judicial district in Beaumont, Longview, Plano,

 Texarkana and Tyler.

             Accordingly, Display requests that the Court stay consideration of Canon’s motion to

 dismiss and this response until such time as Display has received venue-related discovery and

 supplemented this response.

        Dated: August 4, 2017                           Respectfully submitted,


                                                        /s/ Thomas C. Wright
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                                     CERTIFICATE OF SERVICE

               I hereby certify that all counsel of record who have consented to electronic service
        are being notified of the filing of this document via the Court’s CM/ECF system per Local
        Rule CV- 5(a)(3) on this 4th day of August, 2017.

                                                        /s/ Thomas C. Wright
                                                        Thomas C. Wright
